     Case 8:24-cr-00051-WFJ-AAS Document 36 Filed 04/09/24 Page 1 of 21 PageID 105
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        AF Approval *K.forlflgt                                      Chief Approval

                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIYISION

        UNITED STATES OF AMERICA

              v.                               CASE NO. 8:24-cr-00051-WFJ-AAS

        DEVTN ALAN RHODEN

                                       PLEA AGREEMENT

              Pursuant to Fed. R. Crim. P. 11(c), the United States of America, by Roger B.

        Handberg, United States Attorney for the Middle District of Florida, and the

        defendant, Devin Alan Rhoden, and the attorney for the defendant, Adam Benjamin

        Allen, mutually agree as follows:

        A.    Particularized Terms

               l.    Count(s) Pleading To

                     The defendaut shall enter a plea of guilty to Count One of the

        Indictment. Count One charges the defendant with Conspiracy to Commit Wire

        Fraud and Money Laundering, in violation of 18 U.S.C. $$ 371, 1343 and

        1es6(aXlXBXi).

              2.     Maximum Penalties

                     Count One carries a maximum sentence of 5 years of imprisonment, a

        fine of $250,000, a term of supervised release of no more than 3 years, and a special

        assessment of $100 per felony count for individuals, and $400 per felony count for

        persons other than individuals, such as corporations. With respect to certain




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Case 8:24-cr-00051-WFJ-AAS Document 36 Filed 04/09/24 Page 2 of 21 PageID 106




persons other than individuals, such as corporations. With respect to certain offenses,

 the Court shall order the defendant to make restitution to any victim of the

 offense(s), and with respect to other offenses, the Court may order the defendant to

 make restitution to any victim of tle offense(s), or to the community, as set forth

 below.

          3.       Elements of the Offense(s)

                   The defendant acknowledges understanding the nature and elements of

 the offense(s) with which defendant has been charged and to which defendant is

 pleading guilty.

                   The elements of Count One are:

          First:         Two or more persons in some way agreed to try to accomplish a
                         shared and unlawful plan;

          Second         The Defendant knew the unlawful purpose of the plan and
                         willtully joined in it;

          Third          During the conspiracy, one of the conspirators knowingly
                         engaged in at least one overt act as described in the indictment;
                         and

          Fourth:        The overt act was committed at or about the time alleged and
                         with the purpose of carrying out or accomplishing some object of
                         the conspiracy.

                   The elements of wire fraud are:

          First:         The Defendant knowingly devised or participated in a scheme to
                         defraud someone by using false or fraudulent pretenses,
                         representations, or promises;

          Second:        The false pretenses, representations, or promises were about a
                         material fact;

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 Defendant's Initials D      6
Case 8:24-cr-00051-WFJ-AAS Document 36 Filed 04/09/24 Page 3 of 21 PageID 107




       Third:        The Defendant acted with the intent to defraud; and

       Fourth:       The Defendant transmitted or caused to be transmitted by wire
                     some communication in interstate commerce to help carry out
                     the scheme to defraud.

               The elements of money laundering are:

       First         The Defendant knowingly conducted or tried to conduct a
                     financial transaction;

       Second        The Defendant knew that the money or property involved in the
                     transaction were the proceeds of some kind of unlawful activity;

       Third         The money or property did come from an unlawful activity,
                     specifically wire fraud; and

       Fourth:       The Defendant knew that the transaction was designed, in whole
                     or in part, to conceal or disguise the nature, location, source,
                     ownership, or the control of the proceeds.

       4.      No Further Charges

               If the Court accepts this plea agreement, the United States Attomey's

 Office for the Middle District of Florida agrees not to charge defendant with

 committing any other federal criminal offenses known to the United States

 Attomey's Offlce at the time of the execution of this agreement, related to the

 conduct giving rise to this plea agreement.

       5.      Mandatorv Restitution to V          of Offense of Conviction

               Pursuant to 18 U.S.C. $ 3663A(a) and (b), defendant agrees to make full

 restitution to victims of the conduct described in Count One of the Indictment and

 any other victims as determined by the Court.



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Case 8:24-cr-00051-WFJ-AAS Document 36 Filed 04/09/24 Page 4 of 21 PageID 108




        6.    Guidelines Sentenc€

              Pursuant to Fed. R. Crim. P. ll(cXlXB), the United States will

 recommend to the Court that the defendant be sentenced within the defendant's

 applicable guidelines range as determined by the Court pursuant to the United States

 Sentencing Guidelines, as adjusted by any departure the United States has agreed to

 recommend in this plea agreement. The parties understand that such a

 recommendation is not binding on the Court and that, if it is not accepted by this

 Court, neither the United States nor the defendant will be allowed to withdraw from

 the plea agreement, and tle defendant will not be allowed to withdraw from the plea

 of guilty.

        7.    A         ce of

              At the time of sentencing, and in the event that no adverse information

 is received suggesting such a recommendation to be unwarranted, the United States

 will not oppose the defendant's request to the Court that the defendant receive a two-

 level downward adjustment for acceptance of responsibility, pursuant to USSG

 $ 3E1.1(a). The defendant understands that this recommendation or request is not

 binding on tle Court, and if not accepted by the Court, the defendant will not be

 allowed to withdraw from the plea.

              Further, at the time of sentencing, if the defendant's offense level prior

 to operation ofsubsection (a) is level 16 or greater, and if the defendant complies

 with the provisions of USSG S 3El.10) and all terms of this Plea Agreement,



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 Defendant's Initials Dv-
Case 8:24-cr-00051-WFJ-AAS Document 36 Filed 04/09/24 Page 5 of 21 PageID 109




 including but not limited to, the timely submission of the financial affidavit

 referenced in Paragraph B.5., the Udted States agrees to file a motion pursuant to

 USSG $ 3E1.1O) for a downward adjustment of one additional level. The defendant

 understands that ttre determination as to whether the defendant has qualified for a

 downward adjustment of a third level for acceptance of responsibility rests solely

 with the United States Attomey for the Middle District of Florida, and the defendant

 agrees that the defendant cannot and will not challenge that determination, whether

 by appeal, collateral attack, or otherwise.

        8.     Lowlud
               At the time of sentencing, and in the event tiat no adverse information

 is received suggesting such a recommendation to be unwarranted, the United States

 will not oppose the defendant's request to the Court that the defendant receive a

 sentence at the low end ofthe applicable guideline range, as calculated by the Court.

 The defendant understands that this recommendation or request is not binding on

 the Court, and if not accepted by the Court, the defendant will not be allowed to

 withdraw from the plea.

        9.     Coooeration - Substantial           istance to be Considered

               Defendant agrees to cooperate fully with the United States in the

 investigation and prosecution ofother persons, and to testify, subject to a prosecution

 for pedury or making a false statement, fully and truthfully before any federal court

 proceeding or federal grand jury in connection with the charges in this case and other




 Defendant's Initials   \r                     5
Case 8:24-cr-00051-WFJ-AAS Document 36 Filed 04/09/24 Page 6 of 21 PageID 110




 matters, such cooperation to further include a fulI and complete disclosure of all

 relevant information, including production of any and all books, papers, documents,

 and other objects in defendant's possession or control, and to be reasonably avarlable

 for interviews which the United States may require. If the cooperation is completed

 prior to sentencing, the government agrees to consider whether such cooperation

 qualifies as "substantial assistance" in accordance with the policy of the United States

 Attomey for the Middle District of Florida, warranting the filing of a motion at the

 time of sentencing recommending (1) a downward departure from the applicable

 guideline range pursuant to USSG $5K1.1, or (2) the imposition of a sentence below

 a statutory minimum, if any, pursuant to 18 U.S.C. $ 3553(e), or (3) both. If the

 cooperation is completed subsequent to sentencing, the govemment agrees to

 consider whether such cooperation qualifies as "substantial assistance" in accordance

 with the poliry of the United States Attomey for the Middle District of Florida,

 warranting the filing of a motion for a reduction of sentence within one year of the

 imposition of sentence pursuant to Fed. R. Crim. P. 35(b). In any case, the

 defendant understands that the determination as to whether "substantial assistance"

 has been provided or what type of motion related thereto will be filed, if any, rests

 solely with the United States Attomey for the Middle District of Florida, and the

 defendant agrees that defendant cannot and will not challenge that determination,

 whether by appeal, collateral attack, or otherwise.




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Case 8:24-cr-00051-WFJ-AAS Document 36 Filed 04/09/24 Page 7 of 21 PageID 111




       10. Use of Informatio n - Section 1B 1.8
                Pursuant to USSG $lBl.8(a), the United States agrees that no self-

 incriminating fuformation which the defendant may provide during the course of

 defendant's cooperation and pursuant to this agreement shall be used in determining

 the applicable sentencing guideline range, subject to the restrictions and limitations

 set forth in USSG $1Bl.8O).

        11.     Coooeration - Res     sibilities of Parties

                a.    The govemment will make known to the Court and other

 relevant authorities the nature and extent of defendant's cooperation and any other

 mitigating circumstances indicative of the defendant's rehabilitative intent by

 assuming the fundamental civic duty of reporting crime. However, the defendant

 understands that the government can make no representation that the Court will

 impose a lesser sentence solely on account of, or in consideration of, such

 cooperation.

                b.      It is understood that should the defendant knowingly provide

 incomplete or untruthful testimony, statements, or information pursuant to this

 agreement, or should the defendant falsely implicate or incriminate any person, or

 should the defendant fail to voluntarily and unreservedly disclose and provide full,

 complete, truthful, and honest knowledge, information, and cooperation regarding

 any of the matters noted herein, the following conditions shall apply:




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 Defendant's Initials      A
Case 8:24-cr-00051-WFJ-AAS Document 36 Filed 04/09/24 Page 8 of 21 PageID 112




              (l)    The defendant may be prosecuted for any pefury or false

 declarations, if any, committed while testiffing pursuant to this agreement, or for

 obstruction ofjustice.

              (2) The United States may prosecute the defendant for the charges
 which are to be dismissed pursuant to this agreement, if any, and may either seek

 reinstatement ofor refile such charges and prosecute tle defendant thereon in the

 event such charges have been dismissed pursuant to this agreement. With tegard to

 such charges, if any, which have been dismissed, the defendant, being fully aware of

 the nature of all such charges now pending in the instant case, and being further

 aware of defendant's righs, as to all felony charges pending in such cases (those

 offenses punishable by imprisonment for a term of over one year), to notbe held to

 answer to said felony charges unless on a presentment or indictment of a grand jury,

 and further bein g awarc that all such felony charges in the instant case have

 heretofore properly been retumed by the indictment of a grand jury, does hereby

 agrce to reinstatement of such charges by recision of any order dismissing them or,

 altematively, does hereby waive, in open court, prosecution by indictment and

 consents that the United States may proceed by information instead of by indictrnent

 with regard to any felony charges which may be dismissed in the instant case,

 pursuant to this plea agreement, and the defendant further agrees to waive the statute

 of limitations and any speedy trial claims on such charges.




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 Defendant's Initials DL
Case 8:24-cr-00051-WFJ-AAS Document 36 Filed 04/09/24 Page 9 of 21 PageID 113




              (3) The United States may prosecute the defendant for any offenses
 set forth herein, if any, the prosecution of which in accordance with this agreement,

 the United States agrees to forego, and the defendant agrees to waive the statute of

 limitations and any speedy trial claims as to any such offenses.

              (4) The government may use against the defendant the defendant's
 own admissions and statements and the information and book, papers, documents,

 and objects that the defendant has furnished in the course ofthe defendant's

 cooperation with the government.

               (5) The defendant will not be permitted to withdraw the guilry pleas
 to those counts to which defendant hereby agrees to plead in the instant case but, in

 that event, defendant will be entitled to the sentencing limitations, if any, set forth in

 this plea agreement, with regard to those counts to which the defendant has pled; or

 in the altemative, at the option of the United States, the United States may move the

 Court to declare this entire plea agreement null and void.

        112. ForfeiLutc oiAssets

               The defendant agrees to forfeit to the United States immediately and

 voluntarily any and all assets and property, or portions thereof, subject to forfeiture,

 pursuant to 18 U.S.C. $$ 981(aX1)(C),982(a)(2)(B), and 28 U.S.C. $ 246l(c),

 whether in the possession or control of the United States, the defendant or

 defendant's nominees. The assets to be forfeited specifically include, but are not

 limited to, the $135,000 in proceeds the defendant admits he obtained, as the result



                                              9
 Defendant's Initials   v-
Case 8:24-cr-00051-WFJ-AAS Document 36 Filed 04/09/24 Page 10 of 21 PageID 114




  of the commission of the offense(s) to which the defendant is pleading guilty. The

  defendant acknowledges and agrees that: (l) the defendant obtained this amount as

  a result of the commission of the offense(s), ard (2) as a result of the acts and

  omissions of the defendant, the proceeds have been transferred to third parties and

  cannot be located by the United States upon the exercise of due diligence. Therefore,

  the defendant agrees that, pursuant to 2l U.S.C. $ 853(p), the United States is

  entitled to forfeit any other property of the defendant (substitute assets), up to the

  amount ofproceeds the defendant obtained, as the result of the offense(s) of

  conviction. The defendant further consents to, and agrees not to oppose, any motion

  for substitute assets filed by the United States up to the amount of proceeds obtained

  from commission of the offense(s) and consents to the entry of the forfeiture order

  into the Treasury Offset Program. The defendant agrees that forfeiture of substitute

  assets as authorized herein shall not be deemed an alteration of the defendant's

  sentence.

                The defendant additionally agees that since the criminal proceeds have

  been transferred to third parties and cannot be located by the United States upon the

  exercise ofdue diligence, the preliminary and final orders of forfeiture should

  authorize the United States Attomey's Office to conduct discovery (including

  depositions, interrogatories, requests for production of documents, and the issuance

  of subpoenas), pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal

  Procedure, to help identify, locate, and forfeit substitute assets.



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  Defendant's toiri* \d-
Case 8:24-cr-00051-WFJ-AAS Document 36 Filed 04/09/24 Page 11 of 21 PageID 115




                The defendant also agrees to waive all constitutional, statutory, and

 procedural challenges (including direct appeal, habeas corpus, or any other means) to

 any forfeiture carried out in accordance with this Plea Agreement on any grounds,

 including that the forfeiture described herein constitutes an excessive fine, was not

 properly noticed in the charging instrument, addressed by the Court at the time of

 the guilty plea, announced at sentencing, or incorporated into the judgment.

                The defendant admits and agrees that the conduct described in the

  Facnral Basis below provides a sufficient factual and statutory basis for the forfeiture

  of the property sought by the govemment. Pursuant to Rule 32.2(b)(4), the

  defendant agrees that the preliminary order of forfeiture will satisfu the notice

  requirement and will be final as to the defendant at the time it is entered. In the

  event the forfeiture is omitted from the judgment, the defendant agrees that the

  forfeiture order may be incorporated into the written judgment at any time pursuant

  to Rule 36.

                The defendant agrees to take all steps necessary to identifi and locate

  all substitute assets and to transfer custody ofsuch assets to the United States before

  the defendant's sentencing. To that end, the defendant agrees to make a full and

  complete disclosure of all assets over which defendant exercises control, including all

  assets held by nominees, to execute any documents requested by the United States to

  obtain from any other parties by lawful means any records of assets owned by the

  defendant, and to consent to the release of the defendant's tax retums for the



                                             11
  Defendant's Initials   \L
Case 8:24-cr-00051-WFJ-AAS Document 36 Filed 04/09/24 Page 12 of 21 PageID 116




 previous five years. The defendant agrees to be interviewed by the govemment, prior

 to and after sentencing, regarding such assets. The defendant further agrees to be

 polygraphed on the issue of assets, if it is deemed necessary by the United States.

 The defendant agrees that Federal Rule of Criminal Procedure        Il and USSG $ 181.8
 will not protect from forfeiture assets disclosed by the defendant as part ofthe

  defendant's cooperation.

                The defendant agrees to take all steps necessary to assist the

  govemment in obtaining clear title to any substitute assets before the defendant's

  sentencing. ln addition to providing full and complete information about substitute

  assets, these steps include, but are not limited to, the surrender of title, the signing of

  a consent decree of forfeiture, and sigrring ofany other documents necessary to

  effecnrate such transfers.

                Forfeiture ofthe defendant's assets shall not be treated as satisfaction of

  any fine, restitution, cost of imprisonment, or any other penalty the Court may

  impose upon the defendant in addition to forfeiture.

                The defendant agrees that, in the event the Court determines that the

  defendant has breached this section of the Plea Agreement, the defendant may be

  found ineligible for a reduction in the Guidelines calculation for acceptance of

  responsibility and substantial assistance, and may be eligible for an obstruction of

  justice enhancement.




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Case 8:24-cr-00051-WFJ-AAS Document 36 Filed 04/09/24 Page 13 of 21 PageID 117




               The defendant agrees that the forfeiture provisions of this plea

 agreement are intended to, and will, survive the defendant, notwithstanding the

 abatement of any underlying criminal conviction after the execution of this

 agreement. The forfeitability of any particular property pursuant to this agreement

 shall be determined as if the defendant had survived, and that determination shall be

 binding upon defendant's heirs, successors and assiSFs until the agreed forfeiture,

 including the forfeiture of any substitute assets, is final.

 B.     Standard Terms and Conditions

        1                            As

               The defendant understands and agrees that the Court, in addition to or

 in lieu ofany other penalty, shall order the defendant to make restitution to any

 victim of the offense(s), pursuant to 18 U.S.C. S 3663A, for all offenses described in

  18 U.S.C. S 3663A(cX1); and the Court may order the defendant to make restitution

  to any victim of the offense(s), pursuant to 18 U.S.C. S 3663, including restitution as

  to all counts charged, whether or not the defendant enters a plea of guilty to such

  counts, and whether or not such counts are dismissed pursuant to this agreement.

  The defendant further understands that compliance with any restitution payment

  plan imposed by the Court in no way precludes the United States from

  simultaneously pursuing other statutory remedies for collecting restitution (28 U.S.C.

  S 3003(bX2), including, but not limited to, gamishment and execution, pursuant to




                                               13
 Defendant's Initiak Dlt-
Case 8:24-cr-00051-WFJ-AAS Document 36 Filed 04/09/24 Page 14 of 21 PageID 118




 the Mandatory Victims Restitution Act, in order to ensure that the defendant's

 restitution obligation is satisfied.

               On each count to which a plea of guilty is entered, the Court shall

 impose a special assessment pursuant to 18 U.S.C. S 3013. The special assessment is

 due on the date of sentencing.

               The defendant understands that this agreement imposes no limitation as

 to fine.

        2.     Supervised Release

               The defendant understands that the offense(s) to which the defendant is

 pleading provide(s) for imposition ofa term of supervised release upon release from

 imprisonment, and that, if the defendant should violate the conditions of release, the

 defendant would be subject to a further term of imprisonment.

        3                   n   o       uences of Pl

                The defendant has been advised and understands that, upon conviction,

  a defendant who is not a United States citizen may be removed from the United

  States, denied citizenship, and denied admission to the United States in the future.

        4.      Sentencinglnformation

                The United States reserves its right and obligation to report to the Court

  and the United States Probation Office all information conceming the background,

 character, and conduct of the defendant, to provide relevant factual information,

 including the totality of the defendant's criminal activities, if any, not limited to the



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 Defendant's Initiah \(.
Case 8:24-cr-00051-WFJ-AAS Document 36 Filed 04/09/24 Page 15 of 21 PageID 119




 count(s) to which defendant pleads, to respond to comments made by the defendant

 or defendant's counsel, and to correct any misstatements or inaccuracies. The

 United States further reserves its right to make any recornmendations it deems

 appropriate regarding the disposition of this case, subject to any limitations set forth

 herein, if any.

        5.     FinancialDisclosures

               Pursuant to l8 U.S.C. S 3664(dX3) and Fed. R. Crim. P. 32(dX2XAXii),

 the defendant agrees to complete and submit to the United States Attomey's Office

 within 30 days of execution of this agreement an affidavit reflecting the defendant's

  financial condition. The defendant promises that his financial statement and

  disclosures will be complete, accurate and truthful and will include all assets in

  which he has any interest or over which the defendant exercises control, directly or

  indirectly, including those held by a spouse, dependent, nominee or other third party.

  The defendant further agrees to execute any documents requested by the United

  States needed to obtain from any third parties any records of assets owned by the

  defendant, directly or through a nominee, and, by the execution of this Plea

  Agreement, consents to the release ofthe defendant's tax returns for the previous five

  years. The defendant similarly agrees and authorizes the United States Attomey's

  Office to provide to, and obtain from, the United States Probation Office, the

  financial affidavit, any of the defendant's federal, state, and local tax retums, bank

  records and any other financial information conceming the defendant, for the



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Case 8:24-cr-00051-WFJ-AAS Document 36 Filed 04/09/24 Page 16 of 21 PageID 120




 purpose of making any recommendations to the Court and for collecting any

 assessments, fines, restitution, or forfeiture ordered by the Court. The defendant

 expressly authorizes the United States Attomey's Office to obtain current credit

 reports in order to evaluate the defendant's ability to satisry any financial obligation

  imposed by the Court

        6                                 tions

               It is understood by the parties that the Court is neither a party to nor

 bound by this agreement. The Court may accept or reject the agreement, or defer a

  decision until it has had an opportunity to consider the presentence report prepared

 by the United States Probation Office. The defendant understands and

  acknowledges that, although the parties are permitted to make recommendations and

  present arguments to the Court, the sentence will be determined solely by the Court,

  with the assistance of the United States Probation Ofiice. Defendant further

  understands and acknowledges that any discussions between defendant or

  defendant's attomey and the attorney or othq agents for the government regarding

  any recommendations by the govemment are not binding on the Court and that,

  should any recommendations be rejected, defendant will not be permitted to

  withdraw defendant's plea pursuant to this plea agreement. The govemment

  expressly reserves the right to support and defend any decision that the Court may

  make with regard to the defendant's sentence, whether or not such decision is

  consistent with the govemment's recommendations contained herein.



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Case 8:24-cr-00051-WFJ-AAS Document 36 Filed 04/09/24 Page 17 of 21 PageID 121




         7.     Defendant's Waiver of        t to Aooeal the Sentence

                The defendant agrees that this Court has jurisdiction and authority to

  impose any sentence up to the statutory maximum and expressly waives the right to

  appeal defendant's sentence on any ground, including the ground that the Court

  erred in determining the applicable guidelines range pursuant to the United States

  Sentencing Guidelines, except (a) the ground that the sentence exceeds the

  defendant's applicable guidelines range as determined by the Court pursuant to the

  United States Sentencing Guidelines; (b) the ground that the sentence exceeds the

  statutory maximum penalty; or (c) the ground that the sentence violates the Eighth

  Amendment to the Constitution; provided, however, that if the govemment exercises

  its right to appeal the sentence imposed, as authorized by 18 U.S.C. $ 3742@), then

  the defendant is released from his waiver and may appeal the sentence as authorized

  by 18 U.S.C.53742(a).

         8.     Middle Disffict of Florida Asreement

                It is further understood that this agreement is limited to the Offrce of the

  United States Attomey for the Middle District of Florida and cannot bind other

  federal, state, or local prosecuting authorities, although this office will bring

  defendant's cooperation, if any, to the attention ofother prosecuting officers or

  others, if requested.




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Case 8:24-cr-00051-WFJ-AAS Document 36 Filed 04/09/24 Page 18 of 21 PageID 122




        9.     Filins of Aseeu€nt

               This agreement shall be presented to the Court, in open court or in

 camera, in whole or in part, upon a showing of good cause, and filed in this cause, at

 the time of defendant's entry of a plea of guilty pursuant hereto.

         10. Voluntariness
               The defendant acknowledges that defendant is entering into this

  agreement and is pleading guilty freely and voluntarily without reliance upon any

  discussions between the attomey for the government and the defendant and

  defendant's attomey and without promise of benefit of any kind (other than the

  concessions contained herein), and without threats, force, intimidation, or coercion

  of any kind. The defendant further acknowledges defendant's understanding of the

  nature of the offense or offenses to which defendant is pleading guilty and the

  elements thereof, including the penalties provided by law, and defendant's complete

  satisfaction with the representation and advice received from defendant's

  undersigned counsel (if any). The defendant also understands that defendant has the

  right to plead not guilty or to persist in that plea if it has already been made, and that

  defendant has the right to be tried by a jury with the assistance ofcounsel, the right

  to confront and cross-examine the witnesses against defendant, the right against

  compulsory self-incrimination, and the right to compulsory process for the

  attendance of witnesses to testiry in defendant's defense; but, by pleading guilty,

  defendant waives or gives up those rights and there will be no trial. The defendant



                                              18
  Defendant's Initials DL
Case 8:24-cr-00051-WFJ-AAS Document 36 Filed 04/09/24 Page 19 of 21 PageID 123




 further understands that if defendant pleads guilty, the Court may ask defendant

 questions about the of[ense or offenses to which defendant pleaded, and if defendant

 answers those questions under oath, on the record, and in the presence ofcounsel (if

 any), defendant's answers may later be used against defendant in a prosecution for

 perjury or false statement. The defendant also understands that defendant will be

 adjudicated guilty of the offenses to which defendant has pleaded and, if any ofsuch

  offenses are felonies, may thereby be deprived of certain rights, such as the right to

 vote, to hold public oflEce, to serye on a jury, or to have possession of fuearms.

         11. Factual Basis
               Defendant is pleading guilty because defendant is in fact guilty. The

  defendant certifies that defendant does hereby admit that the facts set forth below are

  true, and were this case to go to trial, the Uoited States would be able to prove those

  specific facts and others beyond a reasonable doubt.

                                          FACTS

               In March 2022,Devn Alan Rhoden and Berman Jerry Nowlin, Jr.

  minted two non-fungible token ("NFT") collections on the Solana blockchain named

  "UndeadApes" and "Undead Lady Apes." ln the weeks following the mint, the

  average sale price of both NFT collections increased significantly.

               In April 2022, Rhoden and Nowlin announced their intention to mint a

  third NFT collection named "Undead Tombstone." In the announcement and

  subsequent advertisements on social media-including on Discord and Twitter



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  Defendant's Initiah   Vt
Case 8:24-cr-00051-WFJ-AAS Document 36 Filed 04/09/24 Page 20 of 21 PageID 124




 (which has since rebranded as "X"Fboth defendants made material

 misrepresentations to attract victim-investors, including, but not limited to, the

 amount of victim-investor proceeds that would be dedicated to the NFT's liquidity

 pool, staking opportunities, the provision of lump sums of cryptocurrency, and a

 collaboration with a well-known and successful NFT project.

               On April 19., 2022, Rhoden and Nowlin minted 632 Undead

 Tombstone NFTs, resulting in approximately $135,000 USD in cryptocurrenry being

 sent to wallets under the defendants' control. Rhoden and Nowlin then abandoned

 the mint without satisSing several of the representations made to victim-investors,

 commonly known as a "rug pull."

               Rhoden and Nowlin transferred the fraud proceeds from the Solana

 blockchain to the Ethereum blockchain, also known as "chain-hopping. " This

  obfuscation technique is used by cybercriminals and money launderers to make

  identifuing and tracing illicit funds more diffrcult. The defendants then used the

 cryptocurrency to purchase U.S. dollars and transferred the currency into their

  respective bank accounts. The above is merely a summary of some of the events,

  some of the persons involved, and other information relating to this case. It does not

  include, nor is it intended to include, all the events, persons involved, or other

  information relating to this case.




                                             20
 Defendant's Initiak \[-
Case 8:24-cr-00051-WFJ-AAS Document 36 Filed 04/09/24 Page 21 of 21 PageID 125




       12. Entire Agreement
              This plea agreement constitutes the entire agreement between the

 govemment and the defendant with respect to the aforementioned guilty plea and no

 other promises, agreements, or representations exist or have been made to the

 defendant or defendant's attomey with regard to such guilty plea.

        13. Certification
              The defendant and defendant's counsel certiry that this plea agreement

 has been read in its entirety by (or has been read to) the defendant and that defendant

 fully understands its terms.
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                                                ROGERB. HANDBERG
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